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Original Investigation | Pediatrics

Mental Health Outcomes in Transgender and Nonbinary Youths Receiving
Gender-Affirming Care
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Abstract                                                                                                             Key Points
                                                                                                                     Question Is gender-affirming care for
IMPORTANCE Transgender and nonbinary (TNB) youths are disproportionately burdened by poor
                                                                                                                     transgender and nonbinary (TNB)
mental health outcomes owing to decreased social support and increased stigma and discrimination.
                                                                                                                     youths associated with changes in
Although gender-affirming care is associated with decreased long-term adverse mental health
                                                                                                                     depression, anxiety, and suicidality?
outcomes among these youths, less is known about its association with mental health immediately
after initiation of care.                                                                                            Findings In this prospective cohort of
                                                                                                                     104 TNB youths aged 13 to 20 years,
OBJECTIVE To investigate changes in mental health over the first year of receiving gender-affirming                  receipt of gender-affirming care,
care and whether initiation of puberty blockers (PBs) and gender-affirming hormones (GAHs) was                       including puberty blockers and gender-
associated with changes in depression, anxiety, and suicidality.                                                     affirming hormones, was associated
                                                                                                                     with 60% lower odds of moderate or
DESIGN, SETTING, AND PARTICIPANTS This prospective observational cohort study was                                    severe depression and 73% lower odds
conducted at an urban multidisciplinary gender clinic among TNB adolescents and young adults                         of suicidality over a 12-month follow-up.
seeking gender-affirming care from August 2017 to June 2018. Data were analyzed from August
                                                                                                                     Meaning This study found that access
2020 through November 2021.
                                                                                                                     to gender-affirming care was associated
                                                                                                                     with mitigation of mental health
EXPOSURES Time since enrollment and receipt of PBs or GAHs.
                                                                                                                     disparities among TNB youths over 1
                                                                                                                     year; given this population's high rates
MAIN OUTCOMES AND MEASURES Mental health outcomes of interest were assessed via the
                                                                                                                     of adverse mental health outcomes,
Patient Health Questionnaire 9-item (PHQ-9) and Generalized Anxiety Disorder 7-item (GAD-7)
                                                                                                                     these data suggest that access to
scales, which were dichotomized into measures of moderate or severe depression and anxiety (ie,
                                                                                                                     pharmacological interventions may be
scores !10), respectively. Any self-report of self-harm or suicidal thoughts over the previous 2 weeks
                                                                                                                     associated with improved mental health
was assessed using PHQ-9 question 9. Generalized estimating equations were used to assess change
                                                                                                                     among TNB youths over a short period.
from baseline in each outcome at 3, 6, and 12 months of follow-up. Bivariate and multivariable logistic
models were estimated to examine temporal trends and investigate associations between receipt of
PBs or GAHs and each outcome.                                                                                      + Invited Commentary
                                                                                                                   + Supplemental content
RESULTS Among 104 youths aged 13 to 20 years (mean [SD] age, 15.8 [1.6] years) who participated
                                                                                                                   Author affiliations and article information are
in the study, there were 63 transmasculine individuals (60.6%), 27 transfeminine individuals
                                                                                                                   listed at the end of this article.
(26.0%), 10 nonbinary or gender fluid individuals (9.6%), and 4 youths who responded “I don’t
know” or did not respond to the gender identity question (3.8%). At baseline, 59 individuals (56.7%)
had moderate to severe depression, 52 individuals (50.0%) had moderate to severe anxiety, and 45
individuals (43.3%) reported self-harm or suicidal thoughts. By the end of the study, 69 youths
(66.3%) had received PBs, GAHs, or both interventions, while 35 youths had not received either
intervention (33.7%). After adjustment for temporal trends and potential confounders, we observed
60% lower odds of depression (adjusted odds ratio [aOR], 0.40; 95% CI, 0.17-0.95) and 73% lower
odds of suicidality (aOR, 0.27; 95% CI, 0.11-0.65) among youths who had initiated PBs or GAHs
compared with youths who had not. There was no association between PBs or GAHs and anxiety                                              EXHIBIT

(aOR, 1.01; 95% CI, 0.41, 2.51).

                                                                                                   (continued)
                                                                                                                                       043
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Abstract (continued)

CONCLUSIONS AND RELEVANCE This study found that gender-affirming medical interventions
were associated with lower odds of depression and suicidality over 12 months. These data add to
existing evidence suggesting that gender-affirming care may be associated with improved well-being
among TNB youths over a short period, which is important given mental health disparities
experienced by this population, particularly the high levels of self-harm and suicide.

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Introduction
Transgender and nonbinary (TNB) youths are disproportionately burdened by poor mental health
outcomes, including depression, anxiety, and suicidal ideation and attempts.1-5 These disparities are
likely owing to high levels of social rejection, such as a lack of support from parents6,7 and
bullying,6,8,9 and increased stigma and discrimination experienced by TNB youths. Multidisciplinary
care centers have emerged across the country to address the health care needs of TNB youths, which
include access to medical gender-affirming interventions, such as puberty blockers (PBs) and
gender-affirming hormones (GAHs).10 These centers coordinate care and help youths and their
families address barriers to care, such as lack of insurance coverage11 and travel times.12 Gender-
affirming care is associated with decreased rates of long-term adverse outcomes among TNB youths.
Specifically, PBs, GAHs, and gender-affirming surgeries have all been found to be independently
associated with decreased rates of depression, anxiety, and other adverse mental health
outcomes.13-16 Access to these interventions is also associated with a decreased lifetime incidence of
suicidal ideation among adults who had access to PBs during adolescence.17 Conversely, TNB youths
who present to care later in adolescence or young adulthood experience more adverse mental health
outcomes.18 Despite this robust evidence base, legislation criminalizing and thus limiting access to
gender-affirming medical care for minors is increasing.19,20
      Less is known about the association of gender-affirming care with mental health outcomes
immediately after initiation of care. Several studies published from 2015 to 2020 found that receipt
of PBs or GAHs was associated with improved psychological functioning21 and body satisfaction,22 as
well as decreased depression23 and suicidality24 within a 1-year period. Initiation of gender-
affirming care may be associated with improved short-term mental health owing to validation of
gender identity and clinical staff support. Conversely, prerequisite mental health evaluations, often
perceived as pathologizing by TNB youths, and initiation of GAHs may present new stressors that
may be associated with exacerbation of mental health symptoms early in care, such as experiences of
discrimination associated with more frequent points of engagement in a largely cisnormative health
care system (eg, interactions with nonaffirming pharmacists to obtain laboratory tests, syringes, and
medications).25 Given the high risk of suicidality among TNB adolescents, there is a pressing need to
better characterize mental health trends for TNB youths early in gender-affirming care. This study
aimed to investigate changes in mental health among TNB youths enrolled in an urban
multidisciplinary gender clinic over the first 12 months of receiving care. We also sought to investigate
whether initiation of PBs or GAHs was associated with depression, anxiety, and suicidality.



Methods
This cohort study received approval from the Seattle Children’s Hospital Institutional Review Board.
For youths younger than age 18 years, caregiver consent and youth assent was obtained. For youths
ages 18 years and older, youth consent alone was obtained. The 12-month assessment was funded
via a different mechanism than other survey time points; thus, participants were reconsented for the




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12-month survey. The study follows the Strengthening the Reporting of Observational Studies in
Epidemiology (STROBE) reporting guideline.


Study Procedures
We conducted a prospective observational cohort study of TNB youths seeking care at Seattle
Children’s Gender Clinic, an urban multidisciplinary gender clinic. After a referral is placed or a patient
self-refers, new patients, their caregivers, or patients with their caregivers are scheduled for a 1-hour
phone intake with a care navigator who is a licensed clinical social worker. Patients are then
scheduled for an appointment at the clinic with a medical provider.
     All patients who completed the phone intake and in-person appointment between August 2017
and June 2018 were recruited for this study. Participants completed baseline surveys within 24 hours
of their first appointment and were invited to complete follow-up surveys at 3, 6, and 12 months.
Youth surveys were used to assess most variables in this study; caregiver surveys were used to assess
caregiver income. Participation and completion of study surveys had no bearing on prescribing of
PBs or GAHs.


Measures
Mental Health Variables
We assessed 3 internalizing mental health outcomes: depression, generalized anxiety, and suicidality.
Depression was assessed using the Patient Health Questionnaire 9-item scale (PHQ-9), and anxiety
was assessed using the Generalized Anxiety Disorder 7-item scale (GAD-7). We dichotomized PHQ-9
and GAD-7 scores into measures of moderate or severe depression and anxiety (ie, scores !10).26,27
Self-harm and suicidal thoughts were assessed using PHQ-9 question 9 (eTable 1 in the Supplement).


Pharmacological Interventions
Participants self-reported if they had ever received GAHs, including estrogen or testosterone, or PBs
(eg, gonadotropin-releasing hormone analogues) on each survey. We conducted a medical record
review to capture prescription of androgen blockers (eg, spironolactone) and medications for
menstrual suppression or contraception (ie, medroxyprogesterone acetate or levonorgestrel-
releasing intrauterine device) during the study period.


Covariates
We a priori considered potential confounders hypothesized to be associated with our exposures and
outcomes of interest based on theory and prior research. Self-reported gender was ascertained on
each survey using a 2-step question that asked participants about their current gender and their sex
assigned at birth. If a participant’s self-reported gender changed across surveys, we used the gender
reported most frequently by a participant (3 individuals identified as transmasculine at baseline and
as nonbinary on all follow-up surveys). We collected data on self-reported race and ethnicity
(available response options were Arab or Middle Eastern; Asian; Black or African American; Latinx;
Native American, American Indian, or Alaskan Native or Native Hawaiian; Pacific Islander; and White),
age, caregiver income, and insurance type. Race and ethnicity were assessed as potential covariates
owing to known barriers to accessing gender-affirming care among transgender youth who are
members of minority racial and ethnic groups. For descriptive statistics, Asian and Pacific Islander
groups were combined owing to small population numbers. We included a baseline variable
reflecting receipt of ongoing mental health therapy other than for the purpose of a mental health
assessment to receive a gender dysphoria diagnosis. We included a self-report variable reflecting
whether youths felt their gender identity or expression was a source of tension with their parents or
guardians. Substance use included any alcohol, marijuana, or other drug use in the past year.
Resilience was measured by the Connor-Davidson Resilience Scale (CD-RISC) 10-item score
developed to measure change in an individual’s state resilience over time.28 Resilience scores were



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dichotomized into high (ie, !median) and low (ie, <median). Prior studies of young adults in the US
reported mean CD-RISC scores ranging from 27.2 to 30.1.29,30


Statistical Analysis
We used generalized estimating equations to assess change in outcomes from baseline at each
follow-up point (eFigure 1 in the Supplement). We used a logit link function to estimate adjusted odds
ratio (aOR) for the association between variables and each mental health outcome. We initially
estimated bivariate associations between potential confounders and mental health outcomes.
Multivariable models included variables that were statistically significant in bivariate models. For all
outcomes and models, statistical significance was defined as 95% CIs that did not contain 1.00.
Reported P values are based on 2-sided Wald test statistics.
     Model 1 examined temporal trends in mental health outcomes, with time (ie, baseline, 3, 6, and
12 months) modeled as a categorical variable. Model 2 estimated the association between receipt of
PBs or GAHs and mental health outcomes adjusted for temporal trends and potential confounders.
Receipt of PBs or GAHs was modeled as a composite binary time-varying exposure that compared
mean outcomes between participants who had initiated PBs or GAHs and those who had not across
all time points (eTable 2 in the Supplement). All models used an independent working correlation
structure and robust standard errors to account for the time-varying exposure variable.
     We performed several sensitivity analyses. Because our data were from an observational
cohort, we first considered the degree to which they were sensitive to unmeasured confounding. To
do this, we calculated the E-value for the association between PBs or GAHs and mental health
outcomes in model 2. The E-value is defined as the minimum strength of association that a
confounder would need to have with both exposure and outcome to completely explain away their
association (eTable 4 in the Supplement).31 Second, we performed sensitivity analyses on several
subsets of youths. We separately examined the association of PBs and GAHs with outcomes of
interest, although we a priori did not anticipate being powered to detect statistically significant
outcomes owing to our small sample size and the relatively low proportion of youths who accessed
PBs. We also conducted sensitivity analyses using the Patient Health Questionnaire 8-item scale
(PHQ-8), in which the PHQ-9 question 9 regarding self-harm or suicidal thoughts was removed, given
that we analyzed this item as a separate outcome. Lastly, we restricted our analysis to minor youths
ages 13 to 17 years because they were subject to different laws and policies related to consent and
prerequisite mental health assessments. We used R statistical software version 3.6.2 (R Project for
Statistical Computing) to conduct all analyses. Data were analyzed from August 2020 through
November 2021.



Results
A total of 169 youths were screened for eligibility during the study period, among whom 161 eligible
youths were approached. Nine youths or caregivers declined participation, and 39 youths did not
complete consent or assent or did not complete the baseline survey, leaving a sample of 113 youths
(70.2% of approached youths). We excluded 9 youths aged younger than 13 years from the analysis
because they received different depression and anxiety screeners. Our final sample included 104
youths ages 13 to 20 years (mean [SD] age, 15.8 [1.6] years). Of these individuals, 84 youths (80.8%),
84 youths, and 65 youths (62.5%) completed surveys at 3, 6, and 12 months, respectively.
     Our cohort included 63 transmasculine youths (60.6%), 27 transfeminine youths (26.0%), 10
nonbinary or gender fluid youths (9.6%), and 4 youths who responded “I don’t know” or did not
respond to the gender identity question on all completed questionnaires (3.8%) (Table 1). There
were 4 Asian or Pacific Islander youths (3.8%), 3 Black or African American youths (2.9%); 9 Latinx
youths (8.7%); 6 Native American, American Indian, or Alaskan Native or Native Hawaiian youths
(5.8%); 67 White youths (64.4%); and 9 youths who reported more than 1 race or ethnicity (8.7%).
Race and ethnicity data were missing for 6 youth (5.8%).

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Table 1. Participant Characteristics

 Characteristic                                                                       Participants, No. (%) (N = 104)
 Gender
   Male or transgender male                                                           63 (60.6)
   Female or transgender female                                                       27 (26.0)
   Nonbinary or gender fluid                                                          10 (9.6)
   Don't know or missing                                                              4 (3.8)
 Race and ethnicitya
   Asian or Pacific Islander                                                          4 (3.8)
   Black or African American                                                          3 (2.9)
   Latinx                                                                             9 (8.7)
   Native American, American Indian, or Alaskan Native or Native Hawaiian             6 (5.8)
   White                                                                              67 (64.4)
   More than 1 race or ethnicity chosen                                               9 (8.7)
   Missing                                                                            6 (5.8)
 Age at baseline, y
   13                                                                                 8 (7.7)
   14                                                                                 20 (19.2)
   15                                                                                 18 (17.3)
   16                                                                                 22 (21.2)
   17                                                                                 22 (21.2)
   18                                                                                 8 (7.7)
   19                                                                                 5 (4.8)
   20                                                                                 1 (1.0)
 Pharmacological intervention
   PBsb                                                                               19 (18.2)
   GAHsb                                                                              64 (61.5)
   Androgen blockersc                                                                 17 (51.5)
                                              d
   Menstrual suppression or contraception                                             25 (35.2)
 Depression at baseline (using PHQ-9)
   0-4 (minimal)                                                                      14 (13.5)
   5-9 (mild)                                                                         27 (26.0)
   10-14 (moderate)                                                                   22 (21.2)
   15-19 (moderately severe)                                                          11 (10.6)
   ≥20 (severe)                                                                       26 (25.0)                         Abbreviations: CD-RISC 10, Connor-Davidson 10-item
   Missing                                                                            4 (3.8)                           Resilience Scale; GAD-7, Generalized Anxiety Disorder
                                                                                                                        7-item scale; GAH, gender-affirming hormone; PB,
 Anxiety at baseline (using GAD-7)
                                                                                                                        puberty blocker; PHQ-9 Patient Health Questionnaire 9-
   0-4 (minimal)                                                                      20 (19.2)                         item scale.
   5-9 (mild)                                                                         28 (26.9)                         a
                                                                                                                            Available response options for race and ethnicity
   10-14 (moderate)                                                                   20 (19.2)                             were Arab or Middle Eastern; Asian or Pacific
   ≥15 (severe)                                                                       32 (30.8)                             Islander; Black or African American; Latinx; Native
   Missing                                                                            4 (3.8)                               American, American Indian, or Alaskan Native or
                                                                                                                            Native Hawaiian; Pacific Islander; and White. Asian
 Self-harm or suicidal thoughts at baseline                                           45 (43.2)
                                                                                                                            and Pacific Islander groups were combined owing to
 Receiving mental health therapy                                                      65 (62.5)                             small population sizes.
 Tension with caregiver about gender identity or expression                           36 (34.6)                         b
                                                                                                                            Self-reported receipt ever of PBs or GAHs at baseline
 Any substance use                                                                    34 (32.7)                             or through the end of the study period.
 Resilience at baseline (using CD-RISC 10)                                                                              c
                                                                                                                            Includes androgen blockers received during the
   0-10                                                                               8 (7.7)                               study period; percentage is among 33 youths
   10-20                                                                              35 (33.7)                             assigned male sex at birth.
                                                                                                                        d
   21-30                                                                              15 (14.4)                             Includes pharmacological interventions for
   30-40                                                                              34 (32.7)                             menstrual suppression or contraception received
                                                                                                                            during the study period; percentage is among 71
   Missing                                                                            12 (11.5)
                                                                                                                            youths assigned female sex at birth.




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     At baseline, 7 youths had ever received PBs or GAHs (including 1 youth who received PBs, 4
youths who received GAHs, and 2 youths who received both PBs and GAHs). By the end of the study,
69 youths (66.3%) had received PBs or GAHs (including 50 youths who received GAHs only [48.1%],
5 youths who received PBs only [4.8%], and 14 youths who received PBs and GAHs [13.5%]), while
35 youths had not received either PBs or GAHs (33.7%) (eTable 3 in the Supplement). Among 33
participants assigned male sex at birth, 17 individuals (51.5%) had received androgen blockers, and
among 71 participants assigned female sex at birth, 25 individuals (35.2%) had received menstrual
suppression or contraceptives by the end of the study.
     A large proportion of youths reported depressive and anxious symptoms at baseline.
Specifically, 59 individuals (56.7%) had baseline PHQ-9 scores of 10 or more, suggesting moderate to
severe depression; there were 22 participants (21.2%) scoring in the moderate range, 11 participants
(10.6%) in the moderately severe range, and 26 participants (25.0%) in the severe range. Similarly,
half of participants had a GAD-7 score suggestive of moderate to severe anxiety at baseline (52
individuals [50.0%]), including 20 participants (19.2%) scored in the moderate range, and 32
participants (30.8%) scored in the severe range. There were 45 youths (43.3%) who reported self-
harm or suicidal thoughts in the prior 2 weeks. At baseline, 65 youths (62.5%) were receiving
ongoing mental health therapy, 36 youths (34.6%) reported tension with their caregivers about their
gender identity or expression, and 34 youths (32.7%) reported any substance use in the prior year.
Lastly, we observed a wide range of resilience scores (median [range], 22.5 [1-38], with higher scores
equaling more resiliency). There were no statistically significant differences in baseline
characteristics by gender.
     In bivariate models, substance use was associated with all mental health outcomes (Table 2).
Youths who reported any substance use were 4-fold as likely to have PHQ-9 scores of moderate to
severe depression (aOR, 4.38; 95% CI, 2.10-9.16) and 2-fold as likely to have GAD-7 scores of
moderate to severe anxiety (aOR, 2.07; 95% CI, 1.04-4.11) or report thoughts of self-harm or suicide
in the prior 2 weeks (aOR, 2.06; 95% CI, 1.08-3.93). High resilience scores (ie, !median), compared
with low resilience scores (ie, <median), were associated with lower odds of moderate or severe
anxiety (aOR, 0.51; 95% CI, 0.26-0.999).
     There were no statistically significant temporal trends in the bivariate model or model 1 (Table 2
and Table 3). However, among all participants, odds of moderate to severe depression increased at
3 months of follow-up relative to baseline (aOR, 2.12; 95% CI, 0.98-4.60), which was not a significant
increase, and returned to baseline levels at months 6 and 12 (Figure) prior to adjusting for receipt of
PBs or GAHs.
     We also examined the association between receipt of PBs or GAHs and mental health outcomes
in bivariate and multivariable models (eFigure 2 in the Supplement). After adjusting for temporal
trends and potential confounders (Table 4), we observed that youths who had initiated PBs or GAHs
had 60% lower odds of moderate to severe depression (aOR, 0.40; 95% CI, 0.17-0.95) and 73%
lower odds of self-harm or suicidal thoughts (aOR, 0.27; 95% CI, 0.11-0.65) compared with youths
who had not yet initiated PBs or GAHs. There was no association between receipt of PBs or GAHs and
moderate to severe anxiety (aOR, 1.01; 95% CI, 0.41-2.51). After adjusting for time-varying exposure
of PBs or GAHs in model 2 (Table 4), we observed statistically significant increases in moderate to
severe depression among youths who had not received PBs or GAHs by 3 months of follow-up (aOR,
3.22; 95% CI, 1.37-7.56). A similar trend was observed for self-harm or suicidal thoughts among
youths who had not received PBs or GAHs by 6 months of follow-up (aOR, 2.76; 95% CI, 1.22-6.26).
Lastly, we estimated E-values of 2.56 and 3.25 for the association between receiving PGs or GAHs
and moderate to severe depression and suicidality, respectively (eTable 4 in the Supplement).
Sensitivity analyses obtained comparable results and are presented in eTables 5 through 8 in the
Supplement.




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Table 2. Baseline Factors Associated With Mental Health Outcomes in Bivariate Models

                                                        Moderate or severe depression (PHQ-9 ≥10)a         Moderate or severe anxiety (GAD-7 ≥10)b Any self-harm or suicidal thoughtsc
    Factor                                              aOR (95% CI)                   P value             aOR (95% CI)               P value            aOR (95% CI)             P value
    PBs or GAHs                                         0.67 (0.33-1.34)               .25                 0.90 (0.49-1.66)           .74                0.47 (0.26-0.86)         .01
    Time, mo
      0 (baseline)                                      1 [Reference]                  NA                  1 [Reference]              NA                 1 [Reference]            NA
      3                                                 1.96 (0.99-3.90)               .05                 1.46 (0.71-2.97)           .30                1.00 (0.49-2.06)         .99
      6                                                 1.01 (0.46-2.19)               .99                 0.77 (0.39-1.52)           .45                1.22 (0.64-2.34)         .54
      12                                                1.42 (0.55-3.66)               .47                 0.95 (0.43-2.06)           .89                1.02 (0.41-2.52)         .97
    Gender
      Male or transgender male                          1 [Reference]                  NA                  1 [Reference]              NA                 1 [Reference]            NA
      Female or transgender female                      1.07 (0.51-2.24)               .87                 3.15 (0.92-10.8)           .07                1.20 (0.55-2.64)         .64
      Nonbinary or gender fluid                         2.40 (0.84-6.87)               .10                 1.35 (0.67-2.72)           .40                2.17 (0.73-6.41)         .16
    Race or ethnicity
      White                                             1 [Reference]                  NA                  1 [Reference]              NA                 1 [Reference]            NA
      Member of minority race or ethnic groupd          1.08 (0.51-2.28)               .84                 0.86 (0.45-1.66)           .66                0.92 (0.53-1.61)         .77
    Age, y
      13-15                                             1 [Reference]                  NA                  1 [Reference]              NA                 1 [Reference]            NA
      16-17                                             1.79 (0.82-3.88)               .14                 0.63 (0.29-1.39)           .25                0.86 (0.44-1.68)         .66
      18-20                                             0.78 (0.24-2.51)               .68                 1.17 (0.43-3.17)           .76                0.79 (0.36-1.74)         .55
    Mental health and substance use at baseline
      Moderate or severe depression (PHQ-9 ≥10)         27.2 (13.4-55.4)               <.001               1.91 (0.85-4.29)           .12                1.06 (0.50-2.24)         .88
      Moderate or severe anxiety (GAD-7 ≥10)            4.90 (2.27-10.6)               <.001               14.3 (7.31-27.9)           <.001              1.44 (0.76-2.72)         .27
      Self-harm or suicidal thoughts                    1.32 (0.61-2.85)               .48                 1.49 (0.73-3.06)           .28                18.9 (10.4-34.1)         <.001
      Receiving mental health therapy                   1.46 (0.69-3.08)               .32                 0.65 (0.31-1.38)           .26                0.75 (0.36-1.56)         .45
      Tension with caregivers about gender              1.93 (0.90-4.14)               .09                 1.06 (0.52-2.15)           .87                1.55 (0.88-2.74)         .13
      identity or expression
      Any substance use                                 4.38 (2.10-9.16)               <.001               2.07 (1.04-4.11)           .04                2.06 (1.08-3.93)         .03
      Resilience at baseline (CD-RISC 10 ≥22.5)e        0.85 (0.42-1.74)               .67                 0.51 (0.26-1.00)           .05                0.74 (0.39-1.44)         .38
                                                                                                  c
Abbreviations: aOR, adjusted odds ratio; CD-RISC 10, Connor-Davidson 10-item                          Bivariate models are adjusted for self-harm or suicidal thoughts reported at baseline.
Resilience Scale; GAD-7, Generalized Anxiety Disorder 7-item scale; GAH, gender-                  d
                                                                                                      Owing to small sample sizes, this group includes Asian or Pacific Islander; Black or
affirming hormone; NA, not applicable; PB, puberty blocker; PHQ-9, Patient Health                     African American; Latinx; and Native American, American Indian, Alaskan Native, or
Questionnaire 9-item scale.                                                                           Native Hawaiian youths and youths who reported more than 1 race or ethnicity.
a
    Bivariate models are adjusted for baseline PHQ-9.                                             e
                                                                                                      The median (range) CD-RISC score for the cohort was 22.5 (1-38).
b
    Bivariate models are adjusted for baseline GAD-7.



Table 3. Temporal Trends in Mental Health Outcomes in Multivariable Model 1a

                                                        Moderate or severe depression (PHQ-9 ≥10) Moderate or severe anxiety (GAD-7 ≥10)               Any self-harm or suicidal thoughts
    Factor                                              aOR (95% CI)                P value              aOR (95% CI)               P value            aOR (95% CI)             P value
    Time, mo
      0 (baseline)                                      1 [Reference]               NA                   1 [Reference]              NA                 1 [Reference]            NA
      3                                                 2.12 (0.98-4.60)            .06                  1.50 (0.71-3.15)           .29                0.99 (0.48-2.06)         .98
      6                                                 0.99 (0.42-2.35)            .98                  0.78 (0.38-1.59)           .49                1.22 (0.63-2.36)         .56
      12                                                1.27 (0.44-3.67)            .66                  0.96 (0.43-2.11)           .91                0.98 (0.39-2.48)         .97
    Mental health and substance use at baseline
      Moderate or severe depression (PHQ-9 ≥10)         18.5 (8.44-40.5)            <.001                NA                         NA                 NA                       NA
      Moderate or severe anxiety (GAD-7 ≥10)            3.63 (1.83-7.19)            <.001                12.4 (6.25-24.7)           <.001              NA                       NA
      Self-harm or suicidal thoughts                    NA                          NA                   NA                         NA                 19.9 (10.9-36.1)         <.001
      Any substance use                                 3.35 (1.56-7.18)            .002                 2.21 (1.09-4.49)           .03                2.07 (1.09-3.93)         .03
      Resilience at Baseline (CD-RISC 10 ≥22.5)b        NA                          NA                   0.48 (0.24-0.95)           .04                NA                       NA

Abbreviations: aOR, adjusted odds ratio; CD-RISC 10, Connor-Davidson 10-item                          95% CIs did not contain 1.00) (see Table 2). Covariates that were not significant in
Resilience Scale; GAD-7, Generalized Anxiety Disorder 7-item scale; NA, not applicable;               bivariate models are marked NA.
PHQ-9, Patient Health Questionnaire 9-item scale.                                                 b
                                                                                                      The median (range) CD-RISC score for the cohort is 22.5 (1-38).
a
    Model 1 includes categorical temporal variables (ie, months 3, 6, and 12 relative to
    baseline) and covariates that were statistically significant in bivariate models (such that


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Discussion
In this prospective clinical cohort study of TNB youths, we observed high rates of moderate to severe
depression and anxiety, as well as suicidal thoughts. Receipt of gender-affirming interventions,
specifically PBs or GAHs, was associated with 60% lower odds of moderate to severe depressive
symptoms and 73% lower odds of self-harm or suicidal thoughts during the first year of
multidisciplinary gender care. Among youths who did not initiate PBs or GAHs, we observed that
depressive symptoms and suicidality were 2-fold to 3-fold higher than baseline levels at 3 and 6
months of follow-up, respectively. Our study results suggest that risks of depression and suicidality



Figure. Temporal Trends in Mental Health Outcomes


                  □
                  A Moderate or severe depression (PHQ-9)

                       10



                             CJ
                        8      Bivariate model
                               Model 1
                               Model 2

                        4
        aOR (95% CI)




                        2



                        1




                       0.4
                               0                      3        6                               12
                                                            Time, mo


                  B Moderate or severe anxiety (GAD-7)
                  □
                        4



                         2
        aOR (95% CI)




                        1




                       0.2
                               0                      3        6                               12
                                                            Time, mo



                  □C Self-harm or suicidal thoughts
                       20


                       10
                        8


                        4
        aOR (95% CI)




                        2


                        1
                                                                                                                 Outcomes are estimated from bivariate and
                       0.5                                                                                       multivariable generalized estimating equation models.
                                                                                                                 aOR, indicates adjusted odds ratio; GAD-7, Generalized
                       0.3
                               0                      3        6                               12                Anxiety Disorder 7-item scale; PHQ-9, Patient Health
                                                            Time, mo                                             Questionnaire 9-item scale; whiskers, 95% CIs.



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may be mitigated with receipt of gender-affirming medications in the context of a multidisciplinary
care clinic over the relatively short time frame of 1 year.
         Our findings are consistent with those of prior studies finding that TNB adolescents are at
increased risk of depression, anxiety, and suicidality1,11,32 and studies finding long-term and short-
term improvements in mental health outcomes among TNB individuals who receive gender-affirming
medical interventions.14,21-24,33,34 Surprisingly, we observed no association with anxiety scores. A
recent cohort study of TNB youths in Dallas, Texas, found that total anxiety symptoms improved over
a longer follow-up of 11 to 18 months; however, similar to our study, the authors did not observe
statistically significant improvements in generalized anxiety.22 This suggests that anxiety symptoms
may take longer to improve after the initiation of gender-affirming care. In addition, Olson et al35
found that prepubertal TNB children who socially transitioned did not have increased rates of
depression symptoms but did have increased rates of anxiety symptoms compared with children
who were cisgender. Although social transition and access to gender-affirming medical care do not
always go hand in hand, it is noteworthy that access to gender-affirming medical care and supported
social transition appear to be associated with decreased depression and suicidality more than anxiety
symptoms.
         Time trends were not significant in our study; however, it is important to note that we observed
a transient and nonsignificant worsening in mental health outcomes in the first several months of
care among all participants and that these outcomes subsequently returned to baseline by 12
months. This is consistent with findings from a 2020 study36 in an academic medical center in the
northwestern US that observed no change in TNB adolescents’ GAD-7 or PHQ-9 scores from intake to
first follow-up appointment, which occurred a mean of 4.7 months apart. Given that receipt of PBs
or GAHs was associated with protection against depression and suicidality in our study, it could be
that delays in receipt of medications is associated with initially exacerbated mental health symptoms
that subsequently improve. It is also possible that mental health improvements associated with
receiving these interventions may have a delayed onset, given the delay in physical changes after
starting GAHs.
         Few of our hypothesized confounders were associated with mental health outcomes in this
sample, most notably receipt of ongoing mental health therapy and caregiver support; however, this



Table 4. Association Between GAHs or PBs and Mental Health Outcomes in Multivariable Model 2a

                                                      Moderate or severe depression (PHQ-9 ≥10)       Moderate or severe anxiety (GAD-7≥10)       Any self-harm or suicidal thoughts
    Factor                                            aOR (95% CI)                 P value            aOR (95% CI)               P value          aOR (95% CI)               P value
    PBs or GAHs                                       0.40 (0.17-0.95)             .04                1.01 (0.41-2.51)           .98              0.27 (0.11-0.65)           .003
    Time, mo
      0 (baseline)                                    1 [Reference]                NA                 1 [Reference]              NA               1 [Reference]              NA
      3 mo                                            3.22 (1.37-7.56)             .007               1.49 (0.62-3.59)           .37              1.77 (0.76-4.13)           .19
      6 mo                                            1.77 (0.72-4.37)             .21                0.77 (0.28-2.11)           .61              2.76 (1.22-6.26)           .02
      12 mo                                           2.71 (0.82-8.95)             .10                0.95 (0.31-2.93)           .93              2.93 (0.83-10.4)           .10
    Mental health & substance use at baseline
      Moderate or severe depression (PHQ-9 ≥10)       19.4 (8.64-43.4)             <.001              NA                         NA               NA                         NA
      Moderate or severe anxiety (GAD-7 ≥10)          3.82 (1.87-7.82)             <.001              12.4 (6.25-24.7)           <.001            NA                         NA
      Self-harm or suicidal thoughts                  NA                           NA                 NA                         NA               23.9 (12.9-44.5)           <.001
      Any substance use                               3.20 (1.49-6.84)             .003               2.21 (1.09-4.50)           .03              2.00 (1.08-3.73)           .03
    Resilience at baseline (CD-RISC 10 ≥22.5)b        NA                           NA                 0.48 (0.24-0.95)           .04              NA                         NA

Abbreviations: aOR, adjusted odds ratio; CD-RISC 10, Connor-Davidson 10-item                     relative to baseline) and covariates that were statistically significant in the bivariate
Resilience Scale; GAD-7, Generalized Anxiety Disorder 7-item scale; GAH, gender-                 models (such that 95% CIs did not contain 1.00) (see Table 2). The unadjusted bivariate
affirming hormone; NA, not applicable; PB, puberty blocker; PHQ-9, Patient Health                associations between PBs or GAHs and mental health outcomes are reported in
Questionnaire 9-item scale.                                                                      Table 2. Covariates that were not significant in bivariate models are marked NA.
a                                                                                            b
    Model 2 includes a time-varying exposure variable measuring the receipt of PBs or            The median (range) CD-RISC score for the cohort is 22.5 (1-38).
    GAHs adjusted for temporal trend (ie, categorical variable for months 3, 6, and 12




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is not surprising given that these variables were colinear with baseline mental health, which we
adjusted for in all models. Substance use was the only variable associated with all mental health
outcomes. In addition, youths with high baseline resilience scores were half as likely to experience
moderate to severe anxiety as those with low scores. This finding suggests that substance use and
resilience may be additional modifiable factors that could be addressed through multidisciplinary
gender-affirming care. We recommend more granular assessment of substance use and resilience to
better understand support needs (for substance use) and effective support strategies (for resilience)
for TNB youths in future research.
     This study has a number of strengths. This is one of the first studies to quantify a short-term
transient increase in depressive symptoms experienced by TNB youths after initiating gender-
affirming care, a phenomenon observed clinically by some of the authors and described in qualitative
research.37 Although we are unable to make causal statements owing to the observational design of
the study, the strength of associations between gender-affirming medications and depression and
suicidality, with large aOR values, and sensitivity analyses that suggest that these findings are robust
to moderate levels of unmeasured confounding. Specifically, E-values calculated for this study
suggest that the observed associations could be explained away only by an unmeasured confounder
that was associated with both PBs and GAHs and the outcomes of interest by a risk ratio of 2-fold to
3-fold each, above and beyond the measured confounders, but that weaker confounding could not
do so.31


Limitations
Our findings should be interpreted in light of the following limitations. This was a clinical sample of
TNB youths, and there was likely selection bias toward youths with supportive caregivers who had
resources to access a gender-affirming care clinic. Family support and access to care are associated
with protection against poor mental health outcomes, and thus actual rates of depression, anxiety,
and suicidality in nonclinical samples of TNB youths may differ. Youths who are unable to access
gender-affirming care owing to a lack of family support or resources require particular emphasis in
future research and advocacy. Our sample also primarily included White and transmasculine youths,
limiting the generalizability of our findings. In addition, the need to reapproach participants for
consent and assent for the 12-month survey likely contributed to attrition at this time point. There
may also be residual confounding because we were unable to include a variable reflecting receipt of
psychotropic medications that could be associated with depression, anxiety, and self-harm and
suicidal thought outcomes. Additionally, we used symptom-based measures of depression, anxiety,
and suicidality; further studies should include diagnostic evaluations by mental health practitioners
to track depression, anxiety, gender dysphoria, suicidal ideation, and suicide attempts during
gender care.2



Conclusions
Our study provides quantitative evidence that access to PBs or GAHs in a multidisciplinary gender-
affirming setting was associated with mental health improvements among TNB youths over a
relatively short time frame of 1 year. The associations with the highest aORs were with decreased
suicidality, which is important given the mental health disparities experienced by this population,
particularly the high levels of self-harm and suicide. Our findings have important policy implications,
suggesting that the recent wave of legislation restricting access to gender-affirming care19 may have
significant negative outcomes in the well-being of TNB youths.20 Beyond the need to address
antitransgender legislation, there is an additional need for medical systems and insurance providers
to decrease barriers and expand access to gender-affirming care.




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Outcomes
eReferences




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                              Supplemental Online Content



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health outcomes in transgender and nonbinary youths receiving gender-affirming care.
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This supplemental material has been provided by the authors to give readers additional
information about their work.




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I. Measures and Survey Instruments

Below we include the exact survey instruments used to ascertain gender, exposure variables, mental health outcome
variables, and covariates from youth on the baseline, 3, 6, and 12 month follow-up surveys.

 eTable 1. Survey Instruments
 Demographics
                        1. What is your gender identity?
                           o Transgender male (female to male)
                           o Transgender female (male to female)
                           o Male
                           o Female
 Two-step Gender
                           o Non-binary or gender fluid
 Identity Question
                           o Other: [open text box]
                           o I don’t know
                        2. What sex were you assigned at birth?
                           o Male
                           o Female
 Exposure Measures
                       Puberty blockers are a medication that put a young person’s puberty development on
                       pause. Have you taken puberty blockers?
 Puberty Blockers       • Yes
                        • No
                        • I don’t know
                       Have you taken cross-sex hormones (testosterone or estrogen)?
 Gender-affirming       • Yes
 Hormones               • No
                        • I don’t know
 Mental Health Outcome Measures
                       Over the last 2 weeks, how often have you been bothered by the following problems?
                        1. Feeling nervous, anxious, or on edge
                        2. Not being able to stop or control worrying
                        3. Worrying to much about different things
                        4. Trouble relaxing
                        5. Being so restless that it’s hard to sit still
 Generalized            6. Becoming easily annoyed or irritable
 Anxiety Disorder       7. Feeling afraid as if something awful might happen
 7-item scale          With response options: not at all, several days, over half of days, nearly everyone day, and
 (GAD-7)               I don’t know.

                        8. If you checked off any problems, how difficult have these made it for you to do your
                           work, take care of things at home, or get along with people?
                           o Not difficult at all
                           o Somewhat difficult
                           o Very difficult
                           o Extremely difficult
                       Over the past 2 weeks, how often have you been bothered by any of the following
                       problems?
 Patient Health         1. Little interest or pleasure in doing things
 Questionnaire          2. Feeling down, depressed or hopeless
 9-item scale           3. Trouble falling asleep, staying asleep, or sleeping too much
 (PHQ-9)                4. Feeling tired or having little energy
 for Depression         5. Poor appetite or overeating
                        6. Feeling bad about yourself – or that you’re a failure or have let yourself or your family
                           down



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                       7. Trouble concentrating on things, such as reading the newspaper or watching television
                       8. Moving or speaking so slowly that other people could have noticed. Or, the opposite –
                          being so fidgety or restless that you have been moving around a lot more than usual.
                       9. Thoughts that you would be better off dead or of hurting yourself in some way
                      With response options: not at all, several days, over half of days, nearly everyone day, and
                      I don’t know.

                      10. If you checked off any problems, how difficult have those problems made it for you to
                           do your work, take care of things at home, or get along with other people?
                           o Not difficult at all
                           o Somewhat difficult
                           o Very difficult
                           o Extremely difficult
 Self-harm or         "Over the past 2 weeks, how often have you been bothered by thoughts that you would be
 Suicidal Thoughts    better off dead or of hurting yourself in some way?" (Item-9 from the PHQ-9)
 Covariates
                      A readiness assessment is when the patient and their family meet with a mental health
                      professional before starting any medical treatment. Other than having an assessment, are
 Mental Health
                      you receiving ongoing mental health therapy?
 Therapy
                       • Yes
                       • No
                      There is tension around my gender identity or gender expression… (check all that apply)
                       • …between my parents or guardians
 Tension with          • …between me and one or more of my parents or guardians
 Caregivers            • …between me and my extended family
                       • Other: [open text box]
                       • None of the above
                      During the past 12 months, did you:
 Substance Use         1. Drink any alcohol (more than a few sips)? (Do not count sips of alcohol taken during
 (CRAFFT                   family or religious events)
 Screening Tool1       2. Smoke any marijuana or hashish?
 Part A)               3. Use anything else to get high? (“Anything else” includes illegal drugs, over the counter
                           and prescription drugs, and things that you sniff or “huff”)
                       With response options: yes, no, and I don’t know
                       1. I am able to adapt when changes occur.
                       2. I can deal with whatever comes my way.
                       3. I can see the humorous side of things when I am faced with problems.
                       4. Having to cope with stress can make me stronger.
                       5. I tend to bounce back after illness, injury, or other hardships.
 Connor-Davidson
                       6. I believe I can achieve my goals, even if there are obstacles
 10-item Resilience
                       7. Under pressure, I can focused and think clearly
 Scale
                       8. I am not easily discouraged by failure
 (CD-RISC 10)
                       9. I think of myself as a strong person when dealing with life’s challenges and
                           difficulties.
                      10. I am able to handle unpleasant or painful feelings like sadness, fear and anger.
                      With response options: not true at all, rarely true, sometimes true, often true, true nearly all
                      the time, and I don’t know.




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II. Generalized Estimating Equation (GEE) Model Specification

GEE is a marginal model and models population averages (compared to mixed-effect models which are conditional
and can model subject-specific effects). We specified the following GEE models to estimate the average change in
the outcome variable (𝑌𝑌𝑖𝑖 ) at each time point (𝑇𝑇) relative to baseline (𝑌𝑌0 ) (Model 1) and the association between the
exposure (𝐸𝐸𝑖𝑖 ) and outcome (Model 2) adjusted for 𝑘𝑘-many baseline covariates (𝑋𝑋𝑘𝑘0 ).

Model 1: 𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙(𝑌𝑌𝑖𝑖 ) = 𝛽𝛽0 + 𝛽𝛽2 𝑇𝑇𝑖𝑖 + 𝛽𝛽3 𝑌𝑌0 + ∑ 𝛼𝛼𝑘𝑘 𝑋𝑋𝑘𝑘0
Model 2: 𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙𝑙(𝑌𝑌𝑖𝑖 ) = 𝛽𝛽0 + 𝛽𝛽1 𝐸𝐸𝑖𝑖 + 𝛽𝛽2 𝑇𝑇𝑖𝑖 + 𝛽𝛽3 𝑌𝑌0 + ∑ 𝛼𝛼𝑘𝑘 𝑋𝑋𝑘𝑘0

We allow the exposure (receipt of PB/GAH) to vary over time, where 𝑖𝑖 indicates the month, and thus use an
independent working correlation structure. This model assumes there are no time-varying covariates associated with
the exposures and that the exposure is exogenous. A visual schematic of this model is included below in eFigure 1,
the counts and percentages of participants in the exposure group at each timepoint is included in eTable 2, and the
prevalence of the outcome variables over time stratified by exposure group is included in eTable 3.

eFigure 1. Schematic of Generalized Estimating Equation Model
           Baseline Covariates:
      Gender and sex assigned at birth
              Race/ethnicity
             Parental Support
      Ongoing mental health therapy
              Substance use
                                                         -
                                                         ~
                                                                                                            ----------   .
          Time-varying Exposure:
        GAH and/or pubertal blockers
                                                                    i@Uil:iiH,i -•INiifti:iiH,i - IMiihi:iiH,i
            Outcome Variables:
                                                                •                  4                    4                            4
    PHQ9 {dichotomized for scores ~10)
    GAD7 {dichotomized for scores ~10)                   m- ►FH@i                           ·iirlili -- ·lti§lld
    Self-Harm/Suicidal Thoughts (binary)




 eTable 2. Prevalence of Exposure Over Time
                                Baseline                               3 months              6 months                    12 months
 N                                104                                     84                    84                           65
 Exposure (no.,%)
   PB/GAH                        7 (7%)                                 44 (52%)             59 (71%)                    57 (89%)
   None                         97(93%)                                 41 (48%)             24 (29%)                    7 (11%)


 eTable 3. Prevalence of Outcomes Over Time by Exposure Group
 Time Point:                 Baseline               3 Months                                6 Months                   12 Month
 Exposure:         I PB/GAH         None       PB/GAH        None                      PB/GAH      None            PB/GAH     None
 N                         7          92         44           38                         59          24              57         6
 Outcomes (no.,%)
 Moderate to
                       4 (57%)    54 (59%)    24 (55%)     29 (76%)                    33 (56%)   13 (54%)         32 (56%)      5 (83%)
 Severe Depression
 Moderate to
                       4 (57%)    47 (51%)    23 (52%)     23 (61%)                    28 (48%)   10 (42%)         29 (51%)      4 (67%)
 Severe Anxiety
 Self-harm or
                       3 (43%)    41 (45%)    13 (30%)     21 (55%)                    25 (42%)   11 (46%)         21 (37%)      5 (83%)
 Suicidal Thoughts




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 There were a small number of youth who did not complete the PHQ-9 or GAD-7 on each survey: 4 youth at baseline, 3 youth at
 3 months, and 1 youth at 12 months.




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eFigure 2. Association Between Receipt of Gender-Affirming Hormones or Puberty Blockers and Mental Health Outcomes

Associations with moderate or severe depression, anxiety, and self-harm/suicidal thoughts are estimated from bivariate and multivariable GEE models




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                     Moderate or Severe                   Moderate or Severe                   Self-Harm/Suicidal
                     Depression (PHQ-9)                    Anxiety (GAD-7)                          Thoughts


                                                         Bivariate Model · • · Model 2




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III. E-Values

A. Calculation

The E-value is a relatively new measure related to the evidence for causality that can be used to assess the
robustness of observational study results to unmeasured confounding.2 It is defined as the “minimum strength of
association, on the risk ratio scale, that an unmeasured confounder would need to have with both the treatment and
outcome to explain away a treatment– outcome association.”3 Based on the work of VanderWeele et al.3 the
following equations can be used the estimate the E-value for an odds ratio (OR) when the outcome is common (i.e.,
15% at the end of follow-up) and when the estimated OR is less than one:

                                              Letting RR* = 1/ sqrt(OR)
                                       E-value = RR* + sqrt{RR* × (RR* − 1)}

Applying these equations, we obtain the following E-values:

 eTable 4. E-Value Calculation for Association Between Puberty Blockers or Gender-Affirming Hormones and Mental
 Health Outcomes
 Model           Outcome                                 Effect Estimate (OR [95%CI])         E-value
 Model 2         Moderate to Severe Depression           0.40 (0.17, 0.95)                   2.56 (1.19, 4.28)
 Model 2         Suicidality                             0.27 (0.11, 0.65)                   3.25 (1.79, 5.48)

B. Interpretation

We can interpret these findings to suggest that (1) the observed OR of 0.40 could be explained away by an
unmeasured confounder that was associated with both the PB/GAH and the moderate to severe depression by a risk
ratio of 2.56-fold each, above and beyond the measured confounders, but weaker confounding could not do so, and
(2) the observed OR of 0.27 could be explained away by an unmeasured confounder that was associated with both
the PB/GAH and the moderate to severe depression by a risk ratio of 3.25-fold each, above and beyond the
measured confounders, but weaker confounding could not do so. This is evidence that our findings are robust to a
moderate to high degree of unmeasured confounding, since “In the context of biomedical and social sciences
research, effect sizes ≥2 or 3-fold occasionally occur but are not particularly common; a variable that affects both
treatment and outcome each by 2- or 3-fold would likely be even less common.”3

In observational studies, unmeasured confounding and lack of exchangeability pose the greatest barrier to drawing
causal inferences from observational cohort studies. In addition, there are notable pitfalls in overly relying on p-
values for the interpreting the significance of results. For instance, studies with a large sample size often have the
statistical power to precisely estimate associations and obtain very small p-values; the p-value may be made
arbitrarily small by increasing the sample size, even for small effect sizes. In contrast, the E-value depends on the
magnitude of the association; it cannot be made arbitrarily large simply by increasing the sample size. Thus, bias
adjustments, such as calculating the E-value, assess robustness of study findings to unmeasured confounding,
thereby offering an important supplement to p-values.




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IV. Sensitivity Analyses

A. Disaggregated Exposure Variable

We separately examined the association of PB and GAH with the outcomes of interest, although we a priori did not anticipate being powered to detect
statistically significant associations due to our small sample size and the relatively low proportion of youth who accessed PB (n=19).

 eTable 5. Examining Association Between Puberty Blockers or Gender-Affirming Hormones and Mental Health Outcomes Separately
 A. Bivariate Models
                                                            Moderate or Severe            Moderate or Severe Anxiety             Any Self-harm/Suicidal
                                                        Depression (PHQ-9 ≥ 10)                 (GAD-7 ≥ 10)                           Thoughts
                                                         aOR (95% CI)          P           aOR (95% CI)          P              aOR (95% CI)         P
 Gender-affirming hormones                             0.75 (0.36, 1.59)    0.459         0.93 (0.49, 1.78)    0.823           0.64 (0.35, 1.14)   0.131
 Puberty blockers                                      0.52 (0.17, 1.59)    0.250         0.76 (0.29, 1.98)    0.568           0.47 (0.13, 1.69)   0.249
 B. Multivariable Models (i.e. Model 2)
                                                          Moderate or Severe              Moderate or Severe Anxiety             Any Self-harm/Suicidal
                                                        Depression (PHQ-9 ≥ 10)                 (GAD-7 ≥ 10)                           Thoughts
                                                        aOR (95% CI)        P              aOR (95% CI)         P               aOR (95% CI)         P
 GAH                                                   0.40 (0.16, 1.01)    0.053         1.02 (0.44, 2.37)    0.963           0.43 (0.18, 1.01)   0.052
 Puberty blockers                                      0.52 (0.17, 1.58)    0.248         0.72 (0.26, 2.05)    0.543           0.44 (0.11, 1.74)   0.242
 Time (month)
   Baseline                                                   ref                                ref                                  ref
   3 months                                            3.34 (1.47, 7.62)    0.004         1.55 (0.65, 3.67)    0.324           1.52 (0.65, 3.57)   0.333
   6 months                                            1.89 (0.77, 4.64)    0.166         0.81 (0.31, 2.12)    0.665           2.30 (1.00, 5.27)   0.049
   12 months                                           2.93 (0.93, 9.23)    0.067         0.99 (0.35, 2.78)    0.983           2.25 (0.64, 7.99)   0.208
 Mental Health & Substance Use at Baseline
   Moderate or Severe Depression (PHQ-9 ≥ 10)          18.2 (8.26, 39.9)   <0.001                NA                                  NA
   Moderate or Severe Anxiety (GAD-7 ≥ 10)             4.17 (1.97, 8.84)   <0.001         12.3 (6.16, 24.5)   <0.001                 NA
   Self-Harm/Suicidal Thoughts                               NA                                  NA                            22.6 (11.6, 44.3)   <0.001
   Any substance use                                   3.21 (1.47, 7.01)    0.003         2.19 (1.08, 4.45)    0.031           1.95 (0.99, 3.83)   0.053
 Resilience at Baseline (CD-RISC ≥ 22.5)1                    NA                          0.47 (0.23, 0.94)     0.033                 NA




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B. Restricting Analysis to Youth Age 13-17 Years Old

We restricted our analysis to minor youth age 13-17 (n=90), since they were subject to different laws related to consent and pre-requisite mental health
assessments.

 eTable 6. Bivariate Model Restricted to Youths Ages 13 to 17 Years
                                                                 Moderate or Severe         Moderate or Severe Anxiety          Any Self-harm/Suicidal
                                                             Depression (PHQ-9 ≥ 10)1             (GAD-7 ≥ 10)2                        Thoughts3
                                                               aOR (95% CI)          P       aOR (95% CI)         P             aOR (95% CI)        P
 GAH/Puberty blockers                                         0.75 (0.35, 1.63)    0.473    0.79 (0.41, 1.53)   0.486          0.47 (0.24, 0.94)  0.033
 Time
    Baseline                                                         ref                            ref                               ref
    3 months                                                  2.55 (1.26, 5.17)    0.010     1.19 (0.54, 2.62)   0.659         1.22 (0.56, 2.68)    0.615
    6 months                                                  1.15 (0.48, 2.75)    0.758     0.82 (0.39, 1.71)   0.596         1.29 (0.61, 2.73)    0.499
    12 months                                                 1.37 (0.48, 3.94)    0.557     0.84 (0.37, 1.90)   0.680         0.81 (0.33, 2.00)    0.649
 Gender
    Transgender male or male                                         ref                            ref                               ref
    Transgender female or female                              1.11 (0.48, 2.55)    0.803     1.30 (0.60, 2.82)   0.499         1.37 (0.54, 3.46)    0.511
    Non-binary or genderfluid                                 3.12 (1.01, 9.58)    0.047     2.29 (0.55, 9.56)   0.256         3.86 (1.11, 13.4)    0.033
 Race and ethnicity
    White                                                            ref                            ref                               ref
    Black, Indigenous, and Persons of Color                   1.19 (0.51, 2.75)    0.691     0.77 (0.38, 1.56)   0.468         0.82 (0.44, 1.54)    0.541
 Age
    13-15                                                            ref                            ref                               ref
    16-17                                                     1.19 (0.51, 2.75)    0.691     0.63 (0.29, 1.39)   0.252         0.86 (0.44, 1.68)    0.657
 Mental Health & Substance Use at Baseline
    Moderate or Severe Depression (PHQ-9 ≥ 10)                31.0 (14.1, 68.3)   <0.001     2.18 (0.96, 4.94)    0.063        1.23 (0.57, 2.67)    0.593
    Moderate or Severe Anxiety (GAD-7 ≥ 10)                  4.97 (2.17, 11.36)   <0.001     14.0 (6.76, 29.1)   <0.001         1.57 (0.80, 3.1)    0.193
    Self-Harm/Suicidal Thoughts                               1.26 (0.57, 2.78)    0.572     1.61 (0.76, 3.40)    0.215        18.7 (9.72, 35.9)   <0.001
    Receiving mental health therapy                           1.70 (0.72, 4.05)    0.228     0.72 (0.32, 1.59)    0.411        0.70 (0.30, 1.63)    0.412
    Any substance use                                        4.51 (1.94, 10.49)   <0.001     1.83 (0.86, 3.88)    0.114        2.47 (1.21, 5.03)    0.013
 Tension with Caregivers                                      2.59 (1.08, 6.22)    0.032     1.33 (0.62, 2.86)    0.469        1.53 (0.81, 2.89)    0.193
 Resilience at Baseline (CD-RISC ≥ 22.5)4                     0.88 (0.40, 1.89)    0.734     0.42 (0.21, 0.87)    0.019        0.70 (0.34, 1.43)    0.329




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 eTable 7. Multivariable Model Restricted to 90 Youths Ages 13 to 17 Years
 A. Model 1 measuring temporal trends in mental health outcomes
                                                                 Moderate or Severe       Moderate or Severe Anxiety     Any Self-harm/Suicidal
                                                              Depression (PHQ-9 ≥ 10)             (GAD-7 ≥ 10)                  Thoughts
                                                               aOR (95% CI)          P      aOR (95% CI)          P      aOR (95% CI)        P
 Time (month)
    Baseline                                                         ref                          ref                          ref
    3 months                                                  2.83 (1.25, 6.44)    0.013   1.22 (0.54, 2.78)    0.634   1.19 (0.53, 2.66)   0.672
    6 months                                                  1.12 (0.42, 3.00)    0.822   0.83 (0.38, 1.80)    0.638   1.27 (0.59, 2.75)   0.538
    12 months                                                 1.19 (0.37, 3.87)    0.767   0.85 (0.37, 1.93)    0.692   0.76 (0.30, 1.93)   0.558
 Mental Health & Substance Use at Baseline
    Moderate or Severe Depression (PHQ-9 ≥ 10)                24.1 (9.96, 58.2)   <0.001          NA                           NA
    Moderate or Severe Anxiety (GAD-7 ≥ 10)                   3.80 (1.82, 7.96)   <0.001   12.7 (6.11, 26.3)   <0.001          NA
    Self-Harm/Suicidal Thoughts                                      NA                           NA                    20.9 (10.7, 40.9)   <0.001
    Any substance use                                         3.41 (1.41, 8.25)    0.006   2.01 (0.93, 4.37)    0.077   2.50 (1.23, 5.10)    0.012
 Resilience at Baseline (CD-RISC ≥ 22.5)1                            NA                    0.40 (0.19, 0.83)    0.015          NA
  B. Model 2 measuring the association between GAH/puberty blockers and mental health outcomes
                                                               Moderate or Severe        Moderate or Severe Anxiety       Any Self-harm/Suicidal
                                                            Depression (PHQ-9 ≥ 10)             (GAD-7 ≥ 10)                     Thoughts
                                                             aOR (95% CI)          P      aOR (95% CI)           P       aOR (95% CI)           P
  GAH/Puberty blockers                                     0.51 (0.19, 1.37)    0.182    0.84 (0.29, 2.40)   0.745      0.32 (0.12, 0.88)     0.027
  Time (month)
  Baseline                                                         ref                          ref                            ref
  3 months                                                  3.79 (1.47, 9.78)    0.006   1.32 (0.49, 3.53)    0.581     1.93 (0.76, 4.88)    0.165
  6 months                                                  1.73 (0.59, 5.06)    0.315   0.93 (0.30, 2.91)    0.905     2.58 (1.02, 6.57)    0.046
  12 months                                                 2.14 (0.53, 8.73)    0.287   0.98 (0.27, 3.58)    0.979     1.99 (0.52, 7.66)    0.317
  Mental Health & Substance Use at Baseline
  Moderate or Severe Depression (PHQ-9 ≥ 10)                24.3 (9.92, 59.3)   <0.001          NA                             NA
  Moderate or Severe Anxiety (GAD-7 ≥ 10)                   4.01 (1.85, 8.69)   <0.001   12.7 (6.11, 26.5)   <0.001            NA
  Self-Harm/Suicidal Thoughts                                      NA                           NA                      24.3 (12.2, 48.2)    <0.001
  Any substance use                                         3.18 (1.34, 7.55)    0.009   1.98 (0.91, 4.32)    0.085     2.33 (1.15, 4.73)     0.019
  Resilience at Baseline (CD-RISC ≥ 22.5)1                        NA                     0.40 (0.19, 0.83)   0.015             NA




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C. Dichotomous Outcome for Depression Based on the PHQ-8

We conducted sensitivity analyses using the PHQ-8 score,4 which is equivalent to the PHQ-9 with item-9 regarding
self-harm/suicidal thoughts removed. We conducted these analyses in order to determine whether item-9 was driving
any associations between moderate to severe depression since we analyzed self-harm/suicidal thoughts as a separate
outcome. For these analyses we define moderate or severe depression as a PHQ-8 score ≥10.


 eTable 8. Sensitivity Analyses Using Patient Health Questionnaire 8-item Scale Score of 10 or Greater for Moderate to
 Severe Depression
                                                                Model 1                            Model 2
                                                        aOR (95% CI)          P           aOR (95% CI)           P
 Puberty blockers or Gender-affirming hormones                 0            0.039        0.38 (0.15, 0.98)     0.044
 Time (month)
 Baseline                                                     ref                               ref
    3 months                                           2.56 (1.07, 6.09)    0.034        3.95 (1.52, 10.3)     0.005
    6 months                                           0.63 (0.27, 1.44)    0.269        1.16 (0.45, 2.99)     0.753
    12 months                                          0.99 (0.31, 3.16)    0.990        2.23 (0.65, 7.68)     0.205
 Mental Health & Substance Use at Baseline
    Moderate or Severe Depression (PHQ-9 ≥ 10)         22.5 (8.93, 56.6)    <0.001       23.3 (9.07, 59.7)    <0.001
    Moderate or Severe Anxiety (GAD-7 ≥ 10)            4.31 (2.15, 8.67)    <0.001        4.57 (2.22, 9.4)    <0.001
    Self-Harm/Suicidal Thoughts                               NA                                NA
    Any substance use                                  4.3 (1.79, 10.29)    0.001         4.08 (1.7, 9.81)     0.002
 Resilience at Baseline (CD-RISC ≥ 22.5)1                     NA                                NA




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